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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

 JIM DAWS TRUCKING, LLC,                       )        CASE NO. 4:24-CV-3177
                                               )
                     Plaintiff,                )
                                               )
       v.                                      )    DEFENDANTS’ INDEX OF
                                               )    EVIDENCE AND EXHIBIT
 DAWS, INC.; JAMES R. DAWS; LANA R.            )    LIST IN OPPOSITION TO
 DAWS; DAWS TRUCKING, INC.; and                )   MOTION FOR PRELIMINARY
 COLUMBUS TRANSPORTATION &                     )          INJUNCTION
 LOGISTICS, LLC,                               )
                                               )
                     Defendants.               )

       Pursuant to Fed. R. Civ. P. 65 and NECivR 7.1, Defendants submit the
following index of evidence and exhibit list in opposition to Plaintiff’s motion for
preliminary injunction.

      1.     Nebraska Secretary of State Report for Columbus Transportation &
             Logistics LLC
      2.     Nebraska Secretary of State Report for Daws, Inc.
      3.     Nebraska Secretary of State Report for Daws Trucking, Inc.
      4.     Nebraska Secretary of State Report for J&L Enterprises, LLC
      5.     Nebraska Secretary of State Report for JLD Truck Lines, LLC
      6.     Nebraska Secretary of State Report for Loyal Trucking, Inc.
      7.     Nebraska Secretary of State Report for Pyramid Tarp and Equipment
             Sales, LLC
      8.     SAFER Company Snapshot for Columbus Transportation & Logistics
             LLC
      9.     SAFER Company Snapshot for Daws Trucking, Inc. d/b/a Jim Daws
             Trucking, LLC
      10.    10.29.24 JLD Redemption Agreement
      11.    10.29.24 Loyal Redemption Agreement (Daws0002767 - 0002771)
      12.    Photo of Exterior of the shop
      13.    Photo of Interior of the Office
      14.    Photo of Server Room
      15.    Photo of Interior of Office
      16.    J&L Office Lease
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     17.   J&L Shop Lease
     18.   Plaintiff’s Answers to Interrogatories
     19.   JDT Truck Promissory Note (JDT225580-225583)
     20.   JDT Trailer Promissory Note (JDT225576-225579)
     21.   JDT $4M Promissory Note
     22.   Rick Fernandez $250k Promissory Note
     23.   Membership Interest Pledge Agreement
     24.   Rick Text Messages to Jim (JDT225325-225363)
     25.   Rick Text Messages to Jim (Daws0002772-0002852)
     26.   Rick Text Messages to UBT (JDT225317-225324)
     27.   5.3.22 Email (JDT 231134-231147)
     28.   5.10.22 Email (JDT231078-231081)
     29.   4.10.23 Email (JDT 226184-226187)
     30.   4.30.22 Rick Email (JDT231431-231436)
     31.   5.4.22 Emails (JDT233461-233479)
     32.   4.7.23 Email (JDT231095-231097)
     33.   5.24.24 Email to UBT (JDT226048-226051)
     34.   9.2.24 Jim Texts (Daws1298-1299)
     35.   9.5.24 Jim Texts (Daws1300-1301)
     36.   9.11.24 Jim Texts (Daws 1822-1823)
     37.   9.24.24 Rick Email (JDT 231028-231033)
     38.   9.24.24 Rick Email (JDT226228)
     39.   9.24.24 Molthan Email
     40.   9.25.24 Rick Email (Daws946-948)
     41.   9.26.24 Rick Email (Daws 949)
     42.   9.30.24 George Wiltrot Texts (Daws1238-1240)
     43.   9.30.24 Pewick Texts
     44.   10.2.24 Chrissy Howard Text
     45.   10.2.24 McGee Text (Daws 1570-1572)
     46.   10.2.24 Keeler Text (Daws 2099-2100)
     47.   10.2.24 Mike Hill Texts (Daws 1505-1506)
     48.   10.3.24 Hudson Texts (Daws 1655-1656)
     49.   10.7.24 Jim Texts (Daws 1227-1228)
     50.   10.9.24 Pinnel Texts (Daws 1510-1511)
     51.   Declaration of Caitlin Super
     52.   Declaration of Mattie Hans
     53.   Declaration of Shannon Dugan

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     54.   Declaration of Wayne Schmeeckle
     55.   Declaration of Jeremy Becker
     56.   Declaration of Jerry Anderson
     57.   Declaration of John Proctor
     58.   Declaration of Jacob Barfuss
     59.   Declaration of Michel Marlowe
     60.   Declaration of Jeff Harris
     61.   Declaration of Steven Schmitz
     62.   Declaration of Milton Turner
     63.   Declaration of Ronald Landoll
     64.   Declaration of Jeff Cyphers
     65.   Declaration of Craig Downs
     66.   Declaration of Noah Hasenauer
     67.   Declaration of Douglas Warnsing
     68.   Declaration of Zachary DeMerrell
     69.   Declaration of Chuck Weaver
     70.   Declaration of Scott Mitchell
     71.   Declaration of Bryan Watson

     DATED this 31st day of January, 2025.

                                    DAWS, INC., JAMES R. DAWS,
                                    LANA R. DAWS, DAWS TRUCKING, INC.
                                    and COLUMBUS TRANSPORTATION &
                                    LOGISTICS, LLC, Defendants

                                    BY:       /s/ Timothy J. Thalken
                                             Timothy J. Thalken, #22173
                                             David C. Mullin, #21985
                                             Kristin M. Nalbach, #27125
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                           CERTIFICATE OF SERVICE
       I hereby certify that on the 31st day of January, 2025, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to counsel of record.


                                         /s/ Timothy J. Thalken
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